                 Case 19-10927                    Doc 2          Filed 04/25/19      Entered 04/25/19 16:19:25                      Desc Main
                                                                    Document         Page 1 of 2
                                                                                                                                                       AMENDED
                                                            UNITED STATES BANKRUPTCY COURT
                                                                 WESTERN DISTRICT OF TENNESSEE

 In re:           Travis S. Payton                                                                                  Case No.

 Debtors:                                                                                                           Chapter 13


                                                                       CHAPTER 13 PLAN


 ADDRESS:                (1)     101 Fifth St.                                                      (2)
                                 Jackson, TN 38301

PLAN PAYMENT:
      Debtor(1) shall pay $ 224.000                                                         (     weekly,     every two weeks,   semi-monthly, or          monthly, by:
          PAYROLL DEDUCTION From:                                                                                        OR (X) DIRECT PAY

             Debtor(2) shall pay $                                                          (     weekly,     every two weeks,   semi-monthly, or          monthly, by:
                   PAYROLL DEDUCTION From:                                                                               OR (         ) DIRECT PAY

1. THIS PLAN [Rule 3015.1 Notice]:

               (A) CONTAINS A NON-STANDARD PROVISION. [See plan provision #19]                                                        YES                      NO
               (B) LIMITS THE AMOUNT OF A SECURED CLAIM BASED ON A VALUATION                                                          YES                      NO
                   OF THE COLLATERAL FOR THE CLAIM. [See plan provisions #7 and #8]
               (C) AVOIDS A SECURITY INTEREST OR LIEN. [See plan provision #12].                                                      YES                      NO

2. ADMINISTRATIVE EXPENSES: Pay filing fee and Debtor(s)’ attorney fee pursuant to Confirmation Order.

3. AUTO INSURANCE:                       Included in Plan; OR         Not included in Plan; Debtor(s) to provide proof of insurance at §341meeting.

 4. DOMESTIC SUPPORT:                                                                                                                 Monthly Plan Payment:

                                               Paid by:   Debtor(s) directly        Wage Assignment, OR               Trustee to:
 Janet Salerno                                 ongoing payment begins                                                                 $
                                               Approximate arrearage: 0.00

5. PRIORITY CLAIMS:

                                                                       Amount 0.00                                                      $                         0.00

6. HOME MORTGAGE CLAIMS:                                 Paid directly by Debtor(s); OR         Paid by Trustee to:

 None                                      ongoing payment begins                                                                     $
                                           Approximate arrearage:                                     Interest                        $

7. SECURED CLAIMS:

 [Retain lien 11 U.S.C. §1325 (a)(5)]                                Value of Collateral:                   Rate of Interest          Monthly Plan Payment:

8. SECURED AUTOMOBILE CLAIMS FOR DEBT INCURRED WITHIN 910 DAYS OF FILING, AND OTHER
   SECURED CLAIMS FOR DEBT INCURRED WITHIN ONE YEAR OF FILING:

 [Retain lien 11 U.S.C. §1325 (a)]                                   Value of Collateral:                   Rate of Interest          Monthly Plan Payment:
 Acima Credit                                                        400.00                                 8.00                      $10.00
 Cash Master                                                         700.00                                 8.00                      $22.00
 Heights Finance                                                     5,595.00                               10.00                     $142.00


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                                                                    Document              Page 2 of 2
 [Retain lien 11 U.S.C. §1325 (a)]                                   Value of Collateral:               Rate of Interest       Monthly Plan Payment:
 PFS Corp                                                            0.00                               0.00                   Paid Outside Plan by
                                                                                                                               Co-Debtor
 Western Finance                                                     310.00                             10.00                  $10.00
 World Acceptance Corporation                                        318.00                             10.00                  $10.00

9. SECURED CLAIMS FOR WHICH COLLATERAL WILL BE SURRENDERED; STAY IS TERMINATED UPON
   CONFIRMATION FOR FOR THE LIMITED PURPOSE OF GAINING POSSESSION AND COMMERCIALLY
   REASONABLE DISPOSAL OF COLLATERAL:

 -NONE-                                                                     Collateral:

10. SPECIAL CLASS UNSECURED CLAIMS:

                                                                     Amount:                            Rate of Interest       Monthly Plan Payment:
 -NONE-                                                                                                                        $

11. STUDENT LOAN CLAIMS AND OTHER LONG TERM CLAIMS:

 None                                                                                      Not provided for    OR           General unsecured creditor

12. THE JUDICIAL LIENS OR NON-POSSESSORY, NON-PURCHASE MONEY SECURITY INTEREST(S) HELD BY
    THE FOLLOWING CREDITORS ARE AVOIDED TO THE EXTENT ALLOWABLE PURSUANT TO 11 U.S.C.§522(f):

 -NONE-

13. ABSENT A SPECIFIC COURT ORDER OTHERWISE, ALL TIMELY FILED CLAIMS, OTHER THAN THOSE
   SPECIFICALLY PROVIDED FOR ABOVE, SHALL BE PAID AS GENERAL UNSECURED CLAIMS.


14. ESTIMATED TOTAL GENERAL UNSECURED CLAIMS: $5,383.00


15. THE PERCENTAGE TO BE PAID WITH RESPECT TO NON-PRIORITY, GENERAL UNSECURED CLAIMS IS:

                             %, OR,
                     THE TRUSTEE SHALL DETERMINE THE PERCENTAGE TO BE PAID AFTER THE PASSING OF THE
                     FINAL BAR DATE.

16. THIS PLAN ASSUMES OR REJECTS EXECUTORY CONTRACTS:


 None                                                                                                               Assumes OR                     Rejects.

17. COMPLETION: Plan shall be completed upon payment of the above, approximately 60 months.

18. FAILURE TO TIMELY FILE A WRITTEN OBJECTION TO CONFIRMATION SHALL BE DEEMED ACCEPTANCE
   OF PLAN.

19. NON-STANDARD PROVISION(S):


      ANY NON-STANDARD PROVISION STATED ELSEWHERE IS VOID.

20. CERTIFICATION: THIS PLAN CONTAINS NO NON-STANDARD PROVISIONS EXCEPT THOSE STATED IN
   PROVISION 19.

 /s/ Louis W. Ringger                                                                                 Date April 25, 2019                                .
 Louis W. Ringger 006559
 Debtor(s)’ Attorney Signature or Pro Se Debtor(s)’ Signature(s)

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